                        Case 8:23-bk-03307-CPM                          Doc 28          Filed 08/15/23         Page 1 of 14




    Debtor name Advocate Health Partners, LLC

    United States Bankruptcy Cou( for the: MIDDLE DISTRICT OF FLORIDA

    Case number (if known) 8:23-bk-03307
                                                                                                                            !   Check if this is an
                                                                                                                                amended filing
I


Official Form 202                                                                                                                    rtI
Declaration Under Penalty of Perjury for Non-lndividual Debtors                                                                                       12t15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individua!'s position or relationship to the debtor, the identity of the document,
and the date, Bankruptcy Rules 1008 and 90{1.

WARNING - Bankruptcy fraud is a serious crime, Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. I 8 U.S.C. SS 152, 1 341 ,
1519, and 3571.



               Declaration and signature
I
        I am the president, another officer, or an authorized agent ofthe corporation; a member or an authorized agent ofthe partnership; or another
        individual serving as a representative ofthe debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         I       Schedule A./B: Assets-Re al and Personal Propefty (Official Form 206AJB)

         I       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         I       Schedule E/F: Creditors Who Have Unsecured C/a/rns (Official Form 206E/F)
         I       Schedule G: Executory Contracts and Unexpired Leases (Offlcial Form 206G)
         I       Schedule H: Codebtors (Official Form 206H)

         I       Summary of Assets and Liabilities for Non-lndividuais (Official Form 206Sum)

         tr     Amended Schedule
         tr     Chapter l l or  Chapter                                                                                                        orm2O4)
         I      Other document that requires a declaration Statement of Financial Affairs


        I declare under penalty of perjury that the foregoing is true

         Executedon       -8,lSl-neS                                                          on

                                                              Christopher J. Gleis
                                                              Printed name

                                                              Owner
                                                              Position or relationship to debtor




                                                                                                                                    ;.'
                                                                                                                                    i\
Official Form 202                                      Declaration Under Penalty of Perjury for Non-lndividual Debtors



                                                                                                                                    f.
                                    Case 8:23-bk-03307-CPM                                            Doc 28                 Filed 08/15/23                        Page 2 of 14

 Fill in this information to identify the case:

 Debtor name            Advocate Health Partners, LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)               8:23-bk-03307
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $       6,078,570.79

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $       6,078,570.79


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $         852,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                  0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$         159,483.22


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          1,011,483.22




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                           Case 8:23-bk-03307-CPM                     Doc 28         Filed 08/15/23              Page 3 of 14

Fill in this information to identify the case:

Debtor name          Advocate Health Partners, LLC

United States Bankruptcy Court for the:      MIDDLE DISTRICT OF FLORIDA

Case number (if known)        8:23-bk-03307
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Wells Fargo Checking Account                      Checking                              4008                                        $815.00




           3.2.     Wells Fargo Checking Account                      Checking                              4099                                        $670.12




           3.3.     Southstate                                        Checking                              1415                                           $0.00



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                     $1,485.12
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                       page 1
                             Case 8:23-bk-03307-CPM                    Doc 28        Filed 08/15/23               Page 4 of 14

Debtor            Advocate Health Partners, LLC                                            Case number (If known) 8:23-bk-03307
                  Name


                    Security Deposit with Gilbraltar Crossings, LLC
           7.1.     for leased premises at 35095 US Highway 19 N. STE. 102, Palm Harbor, FL 34685                                      $9,000.00



                    Security Deposit with HRC Capital LLC
           7.2.     for leased premises at 4439 Park Blvd., Pinellas Park, FL 33781                                                    $4,000.00



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


9.         Total of Part 2.                                                                                                        $13,000.00
           Add lines 7 through 8. Copy the total to line 81.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable
           11a. 90 days old or less:                   8,061,085.67     -                       2,000,000.00 = ....                $6,061,085.67
                                         face amount                         doubtful or uncollectible accounts
                                        Patient Collections
                                        $6,061,085.67 only about 50% collectible


12.        Total of Part 3.                                                                                                      $6,061,085.67
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:           Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

Part 6:           Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.

Part 7:           Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Official Form 206A/B                                   Schedule A/B Assets - Real and Personal Property                                    page 2
                             Case 8:23-bk-03307-CPM                     Doc 28         Filed 08/15/23        Page 5 of 14

Debtor        Advocate Health Partners, LLC                                                  Case number (If known) 8:23-bk-03307
              Name

           General description                                            Net book value of          Valuation method used   Current value of
                                                                          debtor's interest          for current value       debtor's interest
                                                                          (Where available)

39.        Office furniture
           Location: 35095 US Hwy 19 N., Suite 102, Palm
           Harbor, FL 34684
           Desk(7), Glass Cabinets (4), Tables/Shelves
           (5), Charis(16), Stool (1), Printers (2),
           Computers(5), Couches (2), Waiting Room
           Chairs (2), Exam Table (1), Massage
           Chairs/Foot Rest (3)

           Location: 4439 Park Blvd. N., Pinellas Park, FL
           33781
           Desks(5), Couch, Waiting Room Chairs (2),
           Chairs (12), Stools (5), Tables (2), Computers
           (2), Training Tables (4), Exam Tables (2)                                       $0.00                                        $3,000.00



40.        Office fixtures

41.        Office equipment, including all computer equipment and
           communication systems equipment and software

42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                             $3,000.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.

Part 9:       Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.

Part 11:      All other assets

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 3
                         Case 8:23-bk-03307-CPM                       Doc 28        Filed 08/15/23            Page 6 of 14

Debtor       Advocate Health Partners, LLC                                                 Case number (If known) 8:23-bk-03307
             Name

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                              page 4
                                Case 8:23-bk-03307-CPM                                   Doc 28             Filed 08/15/23               Page 7 of 14

Debtor          Advocate Health Partners, LLC                                                                       Case number (If known) 8:23-bk-03307
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $1,485.12

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $13,000.00

82. Accounts receivable. Copy line 12, Part 3.                                                                 $6,061,085.67

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $3,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $6,078,570.79            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $6,078,570.79




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 5
                                Case 8:23-bk-03307-CPM                          Doc 28              Filed 08/15/23   Page 8 of 14

Fill in this information to identify the case:

Debtor name          Advocate Health Partners, LLC

United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

Case number (if known)              8:23-bk-03307
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    Loanbuilder                                  Describe debtor's property that is subject to a lien                  $52,000.00                        $0.00
       Creditor's Name                              Loan
       3505 Silverside Road
       Wilmington, DE 19810
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1303
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



2.2    Margaret Ehrgott                             Describe debtor's property that is subject to a lien                $800,000.00                 Unknown
       Creditor's Name
       c/o Amy L. Drushal, Esq.
       101 E. Kennedy Blvd.
       Suite 2700
       Tampa, FL 33602
       Creditor's mailing address                   Describe the lien
                                                    Loan (Senior)- Accounts Receivable List
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3309
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2
                             Case 8:23-bk-03307-CPM                       Doc 28          Filed 08/15/23              Page 9 of 14

Debtor      Advocate Health Partners, LLC                                                      Case number (if known)         8:23-bk-03307
            Name

       No                                        Contingent
       Yes. Specify each creditor,               Unliquidated
      including this creditor and its relative    Disputed
      priority.



3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $852,000.00

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                             you enter the related creditor?    account number for
                                                                                                                                                this entity
       Loanbuilder
       c/o WebBank                                                                                       Line   2.1
       215 S State St.
       STE 1000
       Salt Lake City, UT 84111

       LoanBuilder
       c/o Swift Financial                                                                               Line   2.1
       PO Box 208703
       Dallas, TX 75320

       LoanBuilder
       c/o CHTD Company                                                                                  Line   2.1
       PO Box 2576
       Springfield, IL 62708




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
                           Case 8:23-bk-03307-CPM                           Doc 28            Filed 08/15/23                 Page 10 of 14

Fill in this information to identify the case:

Debtor name        Advocate Health Partners, LLC

United States Bankruptcy Court for the:         MIDDLE DISTRICT OF FLORIDA

Case number (if known)          8:23-bk-03307
                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $42,000.00
          Fundworks, LLC                                                     Contingent
          5990 N. Sepulveda Blvd                                             Unliquidated
          Suite 310                                                          Disputed
          Van Nuys, CA 91411
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $11,282.00
          Henry Schein, Inc.                                                 Contingent
          c/o Marcadis Singer PA                                             Unliquidated
          5104 South Westshore Blvd
          Tampa, FL 33611                                                    Disputed
          Date(s) debt was incurred                                         Basis for the claim: Pending Lawsuit

          Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $10,607.16
          McKesson Specialty Care
          Distribution LLC                                                   Contingent
          c/o Rosenfeld, SteinPA                                             Unliquidated
          31490 West Dixie Highway                                           Disputed
          Miami, FL 33180
                                                                            Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number 0058                              Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $95,594.06
          Synovus Bank                                                       Contingent
          1148 Broadway                                                      Unliquidated
          Columbus, GA 31901                                                 Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 2
                                                                                                          48536
                             Case 8:23-bk-03307-CPM                         Doc 28          Filed 08/15/23              Page 11 of 14

Debtor      Advocate Health Partners, LLC                                                          Case number (if known)         8:23-bk-03307
            Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
5a. Total claims from Part 1                                                                         5a.       $                           0.00
5b. Total claims from Part 2                                                                         5b.   +   $                     159,483.22

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                              5c.       $                        159,483.22




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 2
                          Case 8:23-bk-03307-CPM                      Doc 28         Filed 08/15/23            Page 12 of 14

Fill in this information to identify the case:

Debtor name        Advocate Health Partners, LLC

United States Bankruptcy Court for the:      MIDDLE DISTRICT OF FLORIDA

Case number (if known)      8:23-bk-03307
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Lease of 35095 US
             lease is for and the nature of       Highway 19 N. STE 102,
             the debtor's interest                Palm Harbor, FL 34685
                                                                                    Gibraltar Crossings, LLC
                State the term remaining          2023-2024                         c/o Retail Property Mmgt
                                                                                    1867 US Highway 19 N
             List the contract number of any                                        Suite 450
                   government contract                                              Clearwater, FL 33764


2.2.         State what the contract or           Lease of 4439 Park
             lease is for and the nature of       Blvd., Pinellas Park, FL
             the debtor's interest                33781

                State the term remaining          2023-204                          HRC Capital LLC
                                                                                    2165 Sunnydale Blvd
             List the contract number of any                                        Unit P
                   government contract                                              Clearwater, FL 33765


2.3.         State what the contract or           Radio Frequency
             lease is for and the nature of       Ablation machine lease
             the debtor's interest

                State the term remaining          24 months
                                                                                    Stryker Sales, LLC
             List the contract number of any                                        4100 E. Milham Avenue
                   government contract                                              Kalamazoo, MI 49001




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
                         Case 8:23-bk-03307-CPM                   Doc 28         Filed 08/15/23           Page 13 of 14

Fill in this information to identify the case:

Debtor name      Advocate Health Partners, LLC

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF FLORIDA

Case number (if known)    8:23-bk-03307
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Christopher                 35095 US Highway 19 N.                                   McKesson Specialty              D
          Gleis                       STE 102                                                  Care                             E/F        3.3
                                      Palm Harbor, FL 34684-1968
                                                                                                                               G




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was provided by the
Court’s CM/ECF Noticing System on this 15th day of August 2023 to those parties registered to
receive service via the Court’s electronic system; including the U.S. Trustee and the Subchapter
V Trustee.
       I HEREBY FURTHER CERTIFY that a true and correct copy of the Summary of Assets
and Liabilities, Schedule D – H, Declaration and the Notice of Chapter 11 Bankruptcy Case,
Meeting of Creditors, and Deadlines (Doc. No. 7) has been served by U.S. Regular Mail to
creditors listed on the attached mailing matrix not registered to receive notice via the Court’s
CM/ECF noticing system on this 15th day of August, 2023

                                                   Respectfully submitted,

                                                   /s/ Jake C. Blanchard
                                                   JAKE C. BLANCHARD, ESQ.
                                                   Florida Bar No: 055438
                                                   BLANCHARD LAW, P.A.
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